 

TNW

 

Bryant, Alvin

 

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3. MAG. DKT.."DEF. NUMBER

4. ols'r. DKTJoEF. NUMBER
2:03~020307-001

5. APPEALS DKT.."DEF. NUMBER

6. ()THER DKT. NUMBER

 

'.'.1N CAsE/MATFER 0F
U.S. v. Bryant

(Case Name) 8. I’AYMEN T CATEGJRY

Felony

 

91er PF.RSGN REPRESENTED
Adult Def`endant

 

10. REPRESENTAT[ON T\’PE
(See instructions)

Motiori Attacking Sentence

 

ii. orFiaNsi:(s) cit ARGED (cit¢ U.s. code ‘riti¢ a section
l) 18 9220. F -~ UNLAWFUL TRANSPORT/'POSSESS/RE

li' more than one offenae. list (up to llve) major offenses charged, according to severity oi offense

CE]VE FIREARMS THROUGH INTERSTATE COMME RS§§`

 

Telephone Numher:

1901) 527-5000

 

14.

NAME AND MAlLlNG ADDRESS OF LAW FIRM (only provide per lnstri.ii:tlons)

 

attorney whose name appears in lt€\

 

Appu|nlment Date:

l:i Because the nbove~named person represented has teetli'ted under oath or has
otherwise satisfied this court that he or she (l) is |'inancislly unable to employ counsel and 4
{1) does not wish to waive cnunsel, and because the interests orjusilce so requlre, the
11 ll a ointed to represent this person ln this csse.

ee li‘:-_.i]rt.tctt§§\C L(;J lik-

IZ. ATTORNEY'S NAME F|rst Name, M.l., Last Name, including any sul'l'ix) ll COURT ORDER 'Y
AND i'l"lAlLlNG ADDRE§S 0 Appo|ntin¢ Cgunse| [:] C Co-Courtse| ` 4
Schremef , Sfeffen G_ [J F Subs For l-`ederal Defender n R Subs For Retslned At"torté}/ ` `:
369 N Mal'n |:] F Subs For Psnel Attorney [] V Slandliy Counsel <</\_//y
Memphis TN 3 8103 Frlor Altorney‘s Name: ~/,'/:, , / -'

    
 

 

 

 

CATF.G()R|ES (Artaeh itemization of services with dusen CE£‘§JR€D

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time nhppointmenl.

   

08/')4:")(]0€
eol'Order

o|' Presiding .l udicial Ol'licer or By Order of the Cni.irt

Nunc Pro Tunc Date

mentor partial repayment ordered from the person represented ror this servlee at
NO

g YES

To'raL mriirri:cii MATHrrEcii
AMouNT ADJUSTED Ai).rus'rEn A’§§{,T]R{YAL
CLAIMED mims AMouNT

 

_.,=¢n :1-

a. Arraignment andjor Plea

 

b. Bail and Detention Heiirings

 

e. Motion Hearings

 

d. Trial

 

e. Sentcncing Hearings

 

f. Revocation Hearings

 

g. Appeals Court

 

h. Other (Speclfy on additional sheets)

 

(Rate per hour - $ ) TOTAIS:

 

?‘

._.-\i:¢n -.¢ .-»:Q

a. interviews and Conierent:es

 

b. Obtai¢iing and reviewing records

 

c. Legal research and brlel'writlng

 

d. Travel time

 

e. Investigatlve and Other work (Sp¢ciiy nn additional sheets)

 

 

(Rate per hour ~ $ ) TOTAI.'S:

 

17.

Travel Expellaes (lpdglng, parking, meals, mileage, etc.)

 

18.

19.

 

Other Expenses (oilter than expert. transcripts, etc.)

CERTlFlCATlON OF ATTORNEY[PAYEE FOR THE PER[OD 0 F SER\"|CE
FROM m

 

 

 

 

 

 

 

10. AFFOINTMENT TERMINATION DATE
[F OTHER THAN CASE COMPLETION

 

2l. CASE DlSPO SITION

 

 

22.

 

C LA.IM STATUS Cl Flnal Payrnent I] lmerirn Fsyment Numbei" ______
Have you previously applied to the court rcr compensation snd!or remimhursemeni for this c\se‘.'

i:i Supp|emental i'ayment
m YES [f yes, were you pa|d'.’

|:i YES [J NO

Olh¢r thin from ill¢ murt. hlve you. or toyour knowledge has anyone else, received psyment (compensallon or anything or vslueJ from any other source ln connection wlih this

represenlltlon‘.’ [:] YES NO ll'yes, give details on additional sheets.
l swear orafiirm the truth or correctness of the above statement».

Signaiure quttorney:

 

 

 

 

23.

IN COURT COMF. 24. OUT OF COURT COMP.

25. TRAVEL EXPENSES

16. OTHER EXPENSES

 
  

27. TOTAL AMT. APPR i' CERT

  

 

18.

SIGNATURE OF THE PRESID|NG JUDICIAL OFFICER

DATE

281. JUDGE i‘ MAG. JUDGE CODE

 

29.

iN C()URT COMP. 30. OUT Ol‘" COURT COMP. 3|.

 

 

TR.AVEL EXPENSES

32. OTHER EXPENSES

33. TOTAL AMT. A?FROVED

 

 

34.

SIGNATURF. 0[" CHIEF JUDCE, COURT OF Al’P EALS (OR DELECATE) l'a_vmenl

approved ln excess urine statutory threshold amounl.

DATE

 

 

342. .IUDGE CODE

 

 

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with Fiu|e 55 and/or 32(b) FFiCrP on '

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UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

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Honorablc J on McCalla
US DISTRICT COURT

